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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-03364-MEH

   THERESA EGAN, BRIAN BARKER, and SABRINA
   BUDDEN-WRIGHT, individually and on behalf of all others
   similarly situated,

          Plaintiffs,

   v.

   FASTAFF, LLC and U.S. NURSING CORPORATION,

          Defendants.


                         THIRD [PROPOSED]SCHEDULING ORDER



         For good cause shown, the Court GRANTS the Parties’ Joint Motion to Amend the

  Scheduling Order. As set forth in the Parties’ Joint Motion, the Second Amended Scheduling Order

  (ECF 52) is amended as follows:

          Phase I Discovery Cut-Off:                             January 24, 2025
          Deadline for Motions for Summary Judgment:             February 7, 2025
          Deadline for Plaintiffs’ Motion for Class              February 7, 2025
          Certification:
          Deadline for Plaintiffs’ Class Expert Disclosures:     February 7, 2025
          Deadline for Defendants’ Class Expert Disclosures: February 28, 2024
          Defendants’ Response to Motion for Class               February 28, 2024
          Certification:
          Responses to Motions for Summary Judgment:             February 28, 2024
          Plaintiffs’ Reply in support of Motion for Class       March 19, 2024
          Certification:
          Replies to Motions for Summary Judgment:               March 19, 2024


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     SO ORDERED this _____ day of ___________, 2024.



                                              ____________________________________
                                              Magistrate Judge Michael E. Hegarty




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